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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 PAMELA BUTLER,                                   )
                                                  )
                   Plaintiffs,                    ) Case No. 4:18-cv-01701-AGF
        v.                                        )
                                                  ) Lead Case
 MALLINCKRODT LLC, et al.                         )
                                                  )     ORAL ARGUMENT REQUESTED
                   Defendants.                    )

 DEFENDANT MALLINCKRODT LLC’S REPLY IN SUPPORT OF ITS MOTION TO
  EXCLUDE THE TESTIMONY OF PLAINTIFFS’ EXPERT JAMES WELLS, PH.D

       Defendant Mallinckrodt LLC (“Mallinckrodt”) files this Reply in Support of its Motion to

Exclude the Testimony of Plaintiffs’ Expert James Wells’ Ph.D. (Doc. #47.)




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I.     INTRODUCTION

       Plaintiffs’ opposition (Doc. #71) to Mallinckrodt’s Motion to Exclude the Testimony of

Plaintiff’s Expert James Wells, Ph.D. employs several tactics to dodge the requirements of Rule

702 and the Court’s gatekeeping function. Plaintiffs dismiss Dr. Wells’ failure to properly apply

the 10 C.F.R., Part 20 regulations by arguing the regulations do not apply to Mallinckrodt and are

not appropriate for a Rule 702 motion. However, Dr. Wells relies on these regulations in his expert

reports, and he opined Mallinckrodt violated them. Because he misapplied the standards central to

his opinions, Mallinckrodt properly moved to exclude those opinions. Plaintiffs also ignore the

fundamental failures in Dr. Wells’ methodology and insufficient factual basis by falsely

characterizing his deficiencies as “assumptions” or “disagreements.” Even worse, they frequently

misrepresent Dr. Wells’ work to suggest he performed analyses he did not perform and attempt to

manufacture new support—going so far as to submit new evidence while omitting the portions that

refute the proposition for which Plaintiffs cite that evidence. These tactics accentuate the

unreliability of Dr. Wells’ work and the reason his opinions fail to meet the admissibility

requirements of Rule 702. Plaintiffs have failed to carry their burden of establishing that Dr. Wells’

testimony is the product of a reliable methodology, reliably applied to the facts in this case, and

his testimony should be excluded pursuant to Rule 702.

II.    STANDARD

       Signaling their lack of confidence in Dr. Wells’ analysis and opinions, Plaintiffs argue the

standard for admission of expert testimony is so minimal that it requires the admission of

unscientific opinions, lacking factual support. Federal Rule of Evidence 702 and Eighth Circuit

case law dispel this notion. Expert testimony can only be admitted if “based upon sufficient facts

or data,” “the product of reliable principles and methods,” and “the witness has applied the

principles and methods reliably to the facts of the case.” Fed. R. Evid. 702 (emphasis added).


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Before admitting expert testimony, “the trial court must make ‘a preliminary assessment of

whether the reasoning or methodology underlying the testimony is scientifically valid and of

whether that reasoning or methodology properly can be applied to the facts in issue.’” Polski v.

Quigley Corp., 538 F.3d 836, 838 (8th Cir. 2008) (quoting Daubert v. Merrell Dow Pharms., Inc.,

509 U.S. 579, 592–93 (1993)). “Even a theory that might meet certain Daubert factors, such as

peer review and publication, testing, known or potential error rate, and general acceptance, should

not be admitted if it does not apply to the specific facts of the case.” Concord Boat Corp. v.

Brunswick Corp., 207 F.3d 1039, 1056 (8th Cir. 2000).

       Plaintiffs attempt to dismiss the deficiencies in Dr. Wells’ methodology and factual basis

by characterizing his unscientific approach as a factual “assumption” and Defendants’ challenge

to his approach as a “disagreement” exempt from the Court’s scrutiny. (Doc. #71 at 7.) Plaintiffs’

invocation of Synergetics, Inc. v. Hurst, 477 F.3d 949, 955 (8th Cir. 2007), is unavailing. Hurst

was a trade secrets case, where plaintiff sued former employees for using confidential information

to start their own venture. Id. at 953. Plaintiff sold probes that could be used with another

manufacturer’s surgical lasers. Id. Defendants alleged plaintiff’s expert used an unreliable

methodology for determining damages because the expert defined the relevant market of probe

suppliers as two companies—plaintiff and defendant, without considering the laser manufacturer.

Id. The expert explained the two-supplier market was used because he was quantifying the sales

plaintiff lost to the defendants’ company, and this warranted only considering those two

companies. Id. at 955. On these facts, the court found the methodology reliable with sufficient

factual support for admission under Rule 702. Id. at 956. Contrary to Plaintiffs’ argument, the

Hurst court did not hold a party can dodge Rule 702 and the Court’s gatekeeping function simply

by calling the deficiencies in their expert’s testimony an “assumption” or a “disagreement.”




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III.   ARGUMENTS

       A.      Plaintiffs Fail to Meet Their Burden of Showing that Dr. Wells’ Testimony Is
               Admissible Under Rule 702.

       The party offering an expert witness “must show by a preponderance of the evidence both

that the expert is qualified to render the opinion and that the methodology underlying his

conclusions is scientifically valid.” Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 757–58 (8th

Cir. 2006) (citing Daubert, 509 U.S. at 589–90). This requires the proffering party to “show that

the reasoning or methodology in question is applied properly to the facts in issue.” Id. at 758.

“[O]pinion evidence that ‘is connected to existing data only by the ipse dixit of the expert’” must

be excluded. Id. (quoting Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)). In weighing the

Daubert factors, courts “must continue to function as a gatekeeper who ‘separates expert opinion

evidence based on ‘good grounds’ from subjective speculation that masquerades as scientific

knowledge.’” Presley v. Lakewood Eng’g and Mfg. Co., 553 F.3d 638, 643 (8th Cir. 2009) (quoting

Glastetter v. Novartis Pharm Corp., 252 F3d 986, 989 (8th Cir. 2001)).

       Mallinckrodt will address specific deficiencies in Dr. Wells’ opinions below, but, at a

fundamental level, Plaintiffs’ opposition fails to show Dr. Wells used a scientifically valid

methodology or apply that method reliably to the facts. Plaintiffs repeatedly assert in conclusory

fashion that Dr. Wells used a reliable methodology. However, they fail to provide the Court with

evidence showing his methodologies meet the Daubert factors or Rule 702. Plaintiffs fail to show

whether Dr. Wells’ methodologies for determining the alleged releases of radioactive material

have been tested, subject to peer review or publication, the potential error rate, or whether the

methods have been generally accepted in the field of radiological science. See Presley, 643 F.3d

at 643 (holding courts “determining the reliability of an expert’s opinion” should apply these

Daubert factors). Merely stating that Dr. Wells’ opinions followed a reliable methodology cannot



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meet their burden of showing reliability and compliance with Rule 702.

       Further, many of Plaintiffs’ assertions are gross overstatements or outright falsehoods. For

example, Plaintiffs attempt to legitimize Dr. Wells’ analysis by claiming “[h]e relie[d] on reference

texts commonly accepted and held reliable by experts in the fields of environmental science,

hydrogeology and contaminate fate and transport, as well as the generally-accepted principles and

methodologies from those fields.” (Doc. #71 at 6.) But Plaintiffs never identify any of these

“reference texts commonly accepted in the field.” While this boilerplate statement appears in Dr.

Wells’ report, when asked about it in deposition, Dr. Wells admitted he cited no academic texts

and was just referring to his general background knowledge. (Wells Butler 66:4–67:9, attached as

Exhibit Q.)1 Plaintiffs’ (and Dr. Wells’) failure to identify a single “reference text commonly

accepted in the field” that supports his methodologies is fatal. Plaintiffs’ opposition also states,

“Dr. Wells is able to calculate the past effluent concentrations in air, water, and sediment at the

boundaries of these sites.” (Doc. #71 at 6.) However, other than a single thorium calculation from

an air sample (discussed below), Dr. Wells admitted he did not and could not calculate release

concentrations of radioactive materials from SLAPS. (Wells Butler 156:25–157:12; 158:25–

159:20; 224:11–21.) Plaintiffs even claim that Dr. Wells “modeled” the alleged releases of thorium

from SLAPS. (Doc. #71 at 8–9.) But Dr. Wells admitted he performed no such modeling for

SLAPS. (Wells Butler 152:16–153:5.)

       Plaintiffs’ opposition also illustrates Dr. Wells’ unscientific reliance on ipse dixit. In

discussing his “allocation” opinion, Plaintiffs argue that Dr. Wells frequently uses the so-called




1
 Mallinckrodt previously provided a copy of Dr. Wells’ deposition transcript for this matter as
Doc. #48-4. For the Court’s convenience, Mallinckrodt is providing another copy of Dr. Wells’
deposition transcript. In the new copy, previously cited testimony is highlighted in yellow, and
testimony cited in this reply brief is highlighted in blue.


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Gore Factors in allocating clean-up responsibilities among defendants. (Doc. #71 at 12.) They also

admit Dr. Wells could not calculate alleged exposures attributable to Mallinckrodt and Cotter.

(Doc. #71 at 28.) Yet Mallinckrodt moved to exclude Dr. Wells’ allocation opinions because he

made up nonsensical numbers purportedly allocating fault between Mallinckrodt and Cotter, and

relied on Gore Factors used in environmental cleanup allocation, not in tort litigation. (Doc. #48

at 18.) Plaintiffs never embrace their burden and explain how the numbers pass scientific muster.

Instead, they simply say Dr. Wells is an expert and, therefore, his opinions are admissible. This

ipse dixit fails to show how Dr. Wells’ methodology is connected to the facts of this case and must

be excluded. See Marmo, 457 F.3d at 758.

       B.      Plaintiffs Fail to Meet Their Burden of Showing that Dr. Wells’ Radon-222
               Opinion Is Reliable.

       Mallinckrodt moved to exclude the testimony of Dr. Wells because he used an improper

methodology, based on insufficient data, to opine that radon-222 was released from SLAPS from

1948 to 1966 in excess of the 1960 regulatory limit. (Doc. #48 at 9.) Dr. Wells’ opinion was based

solely on a 1948 measurement of radon conducted by the Atomic Energy Commission (“AEC”).

(Doc. #48 at 9.) Moreover, the 1948 document he relied on identified “the source of [the radon]

contamination [as] the K-65.” (Doc. #48-7.) Critically, Plaintiffs do not dispute these facts. Even

though the K-65 was removed by the end of 1949, and could no longer release radon from the site,

Dr. Wells claimed the 1948 measurement alone was sufficient to determine radon releases from

the site for the next 18 years. (Doc. #48 at 9–10.)

       Neither Dr. Wells’ reports nor Plaintiffs’ opposition establish that he used a reliable

methodology to support his radon opinion. As a starting point, Plaintiffs concede the 1948

measurement is Dr. Wells’ only measurement data and do not dispute the AEC removed the K-65

material by the end of 1949. (Doc. #71 at 10, 22–24.) Unable to refute these facts, Plaintiffs claim



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Dr. Wells “accounted for the removal of K-65” and argue the remaining radiological material

released radon-222, albeit in an unspecified quantity. (Doc. #71 at 22.) Plaintiffs’ arguments,

however, are inaccurate. Dr. Wells never “accounted” for the removal of the K-65. His expert

report does not even mention the K-65, let alone its removal. (Doc. #48-1.) Further disproving

Plaintiffs’ representation, Dr. Wells admitted he did not perform any calculations regarding the

radon production. (Wells Butler 174:14–22.) He simply proclaimed the 1948 radon tests to be

“broadly representative” of later releases, even though the conditions had irrefutably, substantially

changed. (Doc. #48-1 at 17; Wells Butler 174:14–22.)

       In their opposition, Plaintiffs attempt to invent new bases for Dr. Wells’ methodology that

were not included in his original report or supplemental report. Plaintiffs contend the K-65 was a

small portion of the total tonnage of residues at SLAPS. (Doc. #71 at 22). However, the pertinent

issue is the concentration of radon-222 releases, not the relative tonnage of various materials. And

Dr. Wells did not calculate any radon-222 releases or activity from these various other materials.

(Wells Butler 177:4–8.) Notably, while Plaintiffs rely on Mallinckrodt’s experts’ determination of

the tonnage of material, they ignore the same expert’s calculation of the release rate of radon-222.

Table 4-38 in the same expert report—in the same section Plaintiffs cite—shows that the K-65

material provided over 95% of the radon-222 releases. (Doc. #48-13 at 122.) Simply put, nothing

about the belated citation to relative tonnage sheds light on the fundamental failures associated

with Dr. Wells’ radon opinion.

       Plaintiffs also argue the 1948 tests show radon concentrations from material other than the

K-65. (Doc. #71 at 23.) Even if we ignore that this contention is not in Dr. Wells’ reports, the

argument does not pass Rule 702 muster. The 1948 document expressly states: “A survey was

made at the airport area in order to determine the concentrations of radon in air, the source of this




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contamination being the K-65 in and around the storage shed.” (Doc. #71-12 at 3) (emphasis

added.) The report identifies no other material as a source of radon. Moreover, the measurements

Plaintiffs reference were taken while the K-65 was on site, and there is no expert analysis

distinguishing the K-65 contribution from the measured values. Thus, Plaintiffs’ attempt to

belatedly assist Dr. Wells fails.

       At bottom, Plaintiffs’ opposition confirms Dr. Wells’ radon-222 opinions are based solely

on 1948 measurements taken to determine the release of radon from the K-65 material. Even

though he knew this material was removed a year later, Dr. Wells failed to account for its removal

or conduct any scientific analysis to determine post-removal radon releases. Ignoring this

unfavorable data is the antithesis of scientific reliability, and it renders Dr. Wells’ radon-222

opinions fundamentally unsupported. As a result, they should be excluded.

       C.      Plaintiffs Fail to Meet Their Burden of Showing that Dr. Wells’ Thorium-230
               Opinion Is Reliable.

       Dr. Wells’ opinion that Mallinckrodt released thorium-230 in excess of 10 C.F.R. § 20.106

in 1960 is scientifically unreliable because he failed to average the measurements or use the limit

for insoluble thorium. (Doc. #48 at 11.)

               1.      Plaintiffs fail to meet their burden of showing Dr. Wells’ methodology
                       for determining annual thorium releases in 1960 was reliable.

       Under 10 C.F.R. § 20.106 and case law construing the Price-Anderson Act, annual

averages are required to determine compliance with the release limits. (Doc. #48 at 11–13.) The

rationale is that the regulatory release limits correlate with annual dose limits. (Doc. #48-9 at 7.)

Plaintiffs attempt to dodge this requirement and cure Dr. Wells’ flawed methodology by arguing

the federal regulations do not apply because Mallinckrodt was not a licensee and the material was




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waste product.2 (Doc. #71 at 18.) However, they ignore that Dr. Wells used 10 C.F.R. § 20.106 in

his analysis and claimed Mallinckrodt violated the regulation in 1960. (Doc. #48-1 at 28, Table 2.)

Of course, Defendants here challenge the methodology of Dr. Wells’ expert opinion, not

alternative rationales proffered by the lay Plaintiffs that Dr. Wells himself did not follow.

       Plaintiffs also present a strawman argument to the Court by misrepresenting Mallinckrodt’s

argument and the 1960 annual monitoring report Dr. Wells cited. Because Rule 702 requires an

expert to reliably apply his methodology to the facts of the case, Mallinckrodt pointed out an

erroneous factual assumption made by Dr. Wells: he incorrectly believed there were four

measurements taken in 1960, when there were actually 12 measurements. (Doc. #48 at 11.) The

12 measurements were taken from four different locations: six tests from North of Site, 2 tests

each from West, East, and South of the Site. (Doc. #48-10 at 11.) When Dr. Wells incorrectly

wrote, “four samples were taken near the SLAPS property line,” it is unclear if he did not

understand that there were four sampling locations, and multiple tests, or thought only four tests

were performed. (Doc. #48-1 at 19.) The text of his report would suggest it was the latter since he

believed there was only a “day” of sampling in 1960. (Doc. #48-1 at 19.) Either way, the

underlying facts are undisputed and Dr. Wells did not reliably apply those facts.

       Plaintiffs also argue Mallinckrodt “asks the Court” to average tests from different locations,

which is false. Plaintiffs misrepresent the 1960 annual report by claiming “it lists the ‘average’ of

test results from multiple locations.” (Doc. #71 at 21) (emphasis in original.) A review of the report,

however, shows it lists the average for each location, but it never lists the average for multiple

locations. (Doc. #48-10 at 11.) Indeed, Mallinckrodt never suggested averaging tests from different



2
 As discussed in Section IV, the legal standards applicable to Mallinckrodt are not presently before
the Court. The present issue is the admissibility of Dr. Wells’ opinions under Rule 702, including
his application of 10 C.F.R. Part 20.


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locations. As set forth in the 1960 report, the appropriate averaging uses test results from the same

location. (Doc. #48-10 at 11.) Mallinckrodt explained the average of the relevant tests was 60

percent less than the single, maximum number on which Dr. Wells exclusively relied. (Doc. #48

at 12.) The deposition testimony cited for this proposition states the average was 1.6, which the

report shows as the average for the North of Site. (Wells Butler 195:23 to 196:7; Doc. #48-10 at

11.) As such, Dr. Wells had sufficient information to average the releases in 1960 for each location,

but he simply chose to inflate the release value by using a single, maximum number.

       Plaintiffs also attempt to justify Dr. Wells skewing the numbers by contending his use of

the single, maximum number accounts for “high wind events.” (Doc. #71 at 13.) Neither Dr. Wells’

report nor Plaintiffs’ opposition provide any evidence that using a single, maximum value is a

peer-reviewed or published methodology for accounting for wind. Plaintiffs do not provide

evidence that this theory has been tested, and they do not address the potential error rate of such

an approach. Moreover, other than Dr. Wells’ say-so, there is no evidence that Mallinckrodt did

not collect air samples on windy days. As discussed above, Dr. Wells did not even know the

number of tests performed or that there were multiple days of testing throughout the year. (Doc.

#48-1 at 19.) Dr. Wells also provided no analysis of how wind would affect release rates. Plaintiffs

repeatedly mention modeling, but Dr. Wells did not perform or use any modeling for SLAPS.

(Wells Butler 152:16–153:2; 154:4–9.) Thus, Plaintiffs’ contention that Dr. Wells’ use of the

single, maximum test result accounts for wind is simply an untested litigation-driven theory. See

Polksi v. Quigley Corp., 538 F.3d 836, 839 (8th Cir. 2008) (affirming exclusion of expert’s

untested and unproven theory as unreliable).

               2.      Plaintiffs fail to meet their burden of showing the reliability of Dr.
                       Well’s methodology for concluding the thorium-230 at SLAPS was
                       soluble.

       Like their argument regarding the averaging of releases, Plaintiffs’ argument that the


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thorium-230 at SLAPS should be characterized as soluble is premised on demonstrably false

assertions. As a threshold point, Dr. Wells did not analyze the solubility of the thorium-230 at

SLAPS or reach a reasoned conclusion that it was soluble. He also admitted he did not research

the solubility of environmental thorium in learned treatises. (Wells Butler 208:9–13.) Instead, he

assumed it “should be classified as soluble” as a “precautionary principle” “in order to be

conservative.” (Wells Butler 203:7–20.) In other words, he used the lower limit because it

benefited his clients’ litigation strategy.

        Plaintiffs now offer two arguments to create the illusion of scientific support for Dr. Wells’

baseless use of the soluble effluent limit. First, pointing to the 1979 Department of Energy Report

(“DOE”), Plaintiffs claim the DOE “agrees” the thorium is “best defined as ‘soluble’ for purposes

of regulation.” (Doc. #71 at 14.) Absent from their brief, however, is any citation to the DOE report

or a quote where the DOE states this purported agreement. In contrast, Mallinckrodt provided the

DOE report as an exhibit to its supporting brief. (Doc. #48-15.) The report clearly states the DOE

provided the soluble release limit from 10 C.F.R. § 20.106 because it was the “[m]ore restrictive”

value. (Doc. #48-15 at 66, Table 17.) Dr. Wells even acknowledged at his deposition that the DOE

simply used the most restrictive number without performing any solubility testing. (Wells Butler

210:19–212:21.)

        Second, Plaintiffs falsely represent that Cotter’s expert Malcolm R. Knapp, Ph.D. agrees

that the thorium at issue was soluble and that the DOE report supports its solubility. (Doc. #71 at

25.) Plaintiffs supplied Dr. Knapp’s report, but omitted the part that explains he was

“document[ing] the erroneous manner in which Dr. Wells estimated offsite releases and compared

them to the effluent concentration limits in Part 20.” (Knapp Report at 31, attached as Exhibit R)

(emphasis added).) Under this section, Dr. Knapp states Dr. Wells should not have used the DOE




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report for characterizing the thorium-230 as soluble. (Knapp Report at 32.) Referencing the DOE

report, Dr. Knapp does state, “if thorium dissolved in water is to be compared to Part 20 limits, the

appropriate limit is for soluble thorium.” (Knapp Report at 32.) But to determine if the thorium at

issue dissolved in water, the Court need only reference table 1 in Dr. Wells’ report, where he cites

the DOE water test results for thorium-230 as “ND,” which means not detected. (Doc. #71-1 at 27,

Table 1; Wells Butler 276:12–277:4.) In other words, Dr. Wells’ own report provides reliable

scientific evidence that the thorium-230 at SLAPS was insoluble, and Dr. Knapp’s report agrees.

       Plaintiffs add yet another argument that is not found in Dr. Wells’ report or supplemental

report: They claim a 1993 report from the Argonne National Laboratory lists thorium-230 values

in water test results, so it must have dissolved in the water, meaning it was soluble. (Doc. #71 at

22.) Despite Plaintiffs claiming Dr. Wells reviewed “thousands of pages of documents,” his reports

did not cite or rely on the Argonne report, he provided no analysis of this information, and thus he

could not be questioned about in deposition. Nonetheless, the Argonne report undercuts Plaintiffs’

argument. Specifically, Table 2.5, cited by Plaintiffs, never says anything about the radionuclides

being “dissolved in water.” (Doc. #71-13 at 72.) As such, any measured thorium-230 concentration

would likely be from undissolved solids. More to the point, the Argonne report contains a section

on the properties of various radionuclides, which Plaintiffs do not discuss. The section states:

“Most thorium compounds are insoluble, bind to soils, and do not evaporate from soil or water

into the air.” (Doc. #71-13 at 350 (emphasis added).) Accordingly, Plaintiffs’ argument—based

on a report that Dr. Wells did not even cite—confirms the thorium-230 was insoluble.

       Finally, Plaintiffs make several inaccurate statements about Mallinckrodt’s factual basis

establishing the thorium was insoluble. For instance, they claim Mallinckrodt does not offer any

expert evidence that the thorium-230 was insoluble. Not true. Mallinckrodt’s brief in support of




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excluding Dr. Wells’ testimony cited the reports of Risk Assessment Corporation (“RAC”) and

Dr. John Frazier establishing that use of the solubility limit for thorium-230 was wrong. (Doc. #48

at 14.) Next, they argue the report by Dick Duffey, Ph.D. from the University of Maryland is

inadmissible. Federal Rule of Evidence 104(a) applies to rulings on the admissibility of expert

evidence, and it does not require all underlying evidence to be admissible. U.S. v. Martinez, 3 F.3d

1191, 1196 n.10 (8th Cir. 1993). Additionally, Mallinckrodt obtained the Duffey report from the

DOE, and RAC and Dr. Frazier both rely on it in forming their opinions pursuant to Rule 703.

Accordingly, consideration of the Duffey report is appropriate, and, substantively, the Duffey

report and ATSDR’s Toxicological Profile for Thorium (Doc. #48-11), which Plaintiffs do not

mention, establish that Dr. Wells’ statement that the thorium was soluble is not only fundamentally

unsupported, but wrong.

       D.      Plaintiffs Fail to Meet Their Burden to Show Dr. Wells Is Qualified to Opine
               on Radiation Safety Standards.

       In addition to the scientific deficiencies in his work on this matter, Mallinckrodt moved to

exclude Dr. Wells because he is not qualified to opine on radiation safety standards of care and

regulations. (Doc. #48 at 20–21.) Experts must possess knowledge and skill related to the specific

subject matter of their proffered testimony. When an expert strays beyond their expertise, they

must be excluded. Am. Auto. Ins. Co. v. Omega Flex, Inc., 783 F.3d 720, 723 (8th Cir. 2015). As

recognized in the Robinson v. Geico General Ins. Co. case cited by Plaintiffs, “Rule 702 does

require that ‘the area of the witness’s competence matches the subject matter of the witness’s

testimony.’” 447 F.3d 1096, 1101 (8th Cir. 2006) (emphasis added).

       Despite citing Robinson, Plaintiffs only discuss Dr. Wells’ qualifications in general terms;

they never show that his proclaimed expertise matches the subject matter of his testimony. They

repeatedly tout his education and work as an environmental geologist (Doc. #71 at 8), but the



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subject matter of this case is radiation, not geology. They discuss his work on the editorial board

of an environmental forensics journal, but they never describe any publications he has authored or

peer reviewed related to radioactive material. That is because, as Dr. Wells conceded at his

deposition, he has never published on radioactive waste or radionuclides. (Wells Butler 32:8–10.)

Not only do Plaintiffs fail to show how Dr. Wells’ expertise relates to his work in this case, they

discuss all his qualifications and expertise without even using the word radiation.

         Plaintiffs’ discussion of Dr. Wells’ inapplicable experience and background does not refute

Mallinckrodt’s assessment of his qualifications. Plaintiffs do not dispute that he did not complete

any coursework in radiation, health physics, or radiation safety. (Doc. #48 at 21.) They do not

dispute that Dr. Wells is not a member of any professional societies related to radiation or radiation

safety. They do not dispute that he has never worked in a facility with a radioactive material license

or similar facility. Critically, they also fail to dispute—because they cannot—that Dr. Wells is not

an expert in the AEC regulations, and this case is the one and only time that he has ever analyzed

compliance with the AEC regulations or any federal radiation safety standard. (Doc. #48 at 22.)

These are not mere gaps in Dr. Wells’ knowledge and expertise. Dr. Wells is acting wholly outside

of his area of expertise as a geologist, and his testimony should be excluded.

IV.      QUESTIONS OF LAW

         Plaintiffs devote a considerable portion of their brief to arguing issues related to the legal

standard applicable to Mallinckrodt’s activities, including alleging Mallinckrodt should be subject

to strict liability. For support, Plaintiffs cite to the Court’s February 27, 2015 ruling on an earlier

motion to dismiss. (Doc. #71 at 117; Doc. #262.)3 However, in ruling on the motion to dismiss

over six years ago, the Court had to accept all of Plaintiffs’ allegations as true. Braden v. Wal-Mart



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    Document No. 262 was issued in Case No. 4:12-cv-00361-AGF.


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Stores, Inc., 588 F.3d 585, 594 (8th Cir. 2009). This included the inaccurate allegations that all of

Mallinckrodt’s activities occurred before 1957 and were not subject to any federal radiation safety

standards. (Doc. #262 at 2–4.) Mallinckrodt disputes Plaintiffs’ assertions, and the applicability of

certain regulations and standards of care are addressed in Mallinckrodt’s expert’s reports (see Doc.

#48-14 at 3, 9–31) and will be the subject of future motion practice, including dispositive motions.

However, those legal theories and standards are not presently before the Court or the subject of

Mallinckrodt’s motion to exclude the testimony of Dr. Wells.

       Mallinckrodt’s motion to exclude the opinions of Dr. Wells appropriately challenges the

opinions rendered in his reports. (Doc. #48.) Moreover, Plaintiffs cannot dispute that Dr. Wells’

expert reports claim to apply the 10 C.F.R., Part 20 regulations to Mallinckrodt’s activities. (Doc.

#48-1 at 14–17, 19, 22, 27–28; Doc. #48-5 at 11.) Dr. Wells even opines Mallinckrodt violated the

10 C.F.R., Part 20 regulations by releasing radon and thorium-230 above the regulatory limits.

(Doc. #48-1 at 17, 19, 22, 28; Doc. #48-5 at 11.) As such, the admissibility of his opinions,

including applying the regulations he claims to apply, is properly the subject of a Rule 702 motion.

V.     CONCLUSION

       For the reasons stated above and more fully in Mallinckrodt’s Motion and Memorandum

in Support of Its Motion to Exclude the Testimony of Plaintiffs’ Expert James Wells, Ph.D.,

Mallinckrodt respectfully requests this Court to enter an Order excluding the testimony and

opinions of plaintiffs’ expert James Wells.

Dated: October 22, 2021                               /s/ David R. Erickson
                                                      David R. Erickson, #31532MO
                                                      Steven D. Soden, #41917MO
                                                      Jason M. Zager, #59432MO
                                                      Anthony R. Martinez, #61791MO
                                                      SHOOK, HARDY & BACON LLP
                                                      2555 Grand Boulevard
                                                      Kansas City, Missouri 64108-2613
                                                      Telephone: 816.474.6550


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                                            Facsimile: 816.421.5547
                                            derickson@shb.com
                                            ssoden@shb.com
                                            jzager@shb.com
                                            amartinez@shb.com

                                            ATTORNEYS FOR DEFENDANT
                                            MALLINCKRODT LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of October, 2021, I electronically filed the above

with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

filing to counsel of record.

                                                 /s/ David R. Erickson




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